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      CASE NAME:   KrisJenn Ranch, LLC
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                                               COMPARATIVE BALANCE SHEETS
ASSETS                                       FILING DATE*      MONTH                 MONTH                 MONTH                MONTH                     MONTH                     MONTH
                                                               June                  July                  August              Septemer                  October                   November
CURRENT ASSETS
Cash                                                                     4,386.20               2,168.29            1,401.50               49,215.01               893,954.12                893,954.12
Accounts Receivable, Net
Inventory: Lower of Cost or Market
Prepaid Expenses
Investments                                                           477,490.11             477,490.11         477,490.11                -10,895.00                -10,895.00                -10,895.00
Other
TOTAL CURRENT ASSETS                                    0.00          481,876.31             479,658.40         478,891.61                 38,320.01               883,059.12                883,059.12
PROPERTY, PLANT & EQUIP. @ COST
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E                                0.00                  0.00                  0.00                0.00                      0.00                      0.00                      0.00
OTHER ASSETS
 1. Tax Deposits
 2. Investments in Subsidiaries
 3. Electric Deposit
 4.
TOTAL ASSETS                                          $0.00         $481,876.31             $479,658.40       $478,891.61               $38,320.01              $883,059.12               $883,059.12
                                          * Per Schedules and Statement of Affairs
              MOR-2                                                                                                            Revised 07/01/98          Revised 07/01/98          Revised 07/01/98
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         CASE NAME:     KrisJenn Ranch, LLC
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                                                   COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                            FILING DATE*      MONTH                 MONTH                 MONTH               MONTH                MONTH                MONTH
EQUITY                                                             June                  July                  August             Septemer             October              November
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)

PRE-PETITION LIABILITIES
 Notes Payable - Secured                                                5,900,000.00            5,900,000.00      5,900,000.00
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                                            73,330.95               73,330.95         73,330.95            111,168.58           111,168.58           111,168.58
 Other                                                                    183,174.52              183,174.52        183,174.52
TOTAL PRE-PETITION LIABILITIES                              0.00        6,156,505.47            6,156,505.47      6,156,505.47            111,168.58           111,168.58           111,168.58
TOTAL LIABILITIES                                           0.00        6,156,505.47            6,156,505.47      6,156,505.47            111,168.58           111,168.58           111,168.58
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                                             -5,605,684.41        -5,605,684.41         -5,605,684.41        -5,605,684.41        -5,605,684.41        -5,605,684.41
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date                                       -73,061.24           -73,061.24            -73,061.24         6,377,574.95         6,377,574.95         6,377,574.95
TOTAL OWNER'S EQUITY (NET WORTH)                            0.00       -5,678,745.65        -5,678,745.65         -5,678,745.65           771,890.54           771,890.54           771,890.54
TOTAL
LIABILITIES &
OWNERS EQUITY                                             $0.00        $477,759.82              $477,759.82       $477,759.82          $883,059.12          $883,059.12          $883,059.12
                                              * Per Schedules and Statement of Affairs
            MOR-3                                                                                                                 Revised 07/01/98     Revised 07/01/98     Revised 07/01/98
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                                 SCHEDULE OF POST-PETITION LIABILITIES
                                           MONTH            MONTH           MONTH            MONTH              MONTH              MONTH
                                           June             July            August           Septemer           October           November
TRADE ACCOUNTS PAYABLE
TAX PAYABLE
Federal Payroll Taxes
State Payroll Taxes
Ad Valorem Taxes
Other Taxes
TOTAL TAXES PAYABLE                                  0.00            0.00             0.00               0.00              0.00                      0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
1.
2.
3.
TOTAL POST-PETITION LIABILITIES (MOR-3)            $0.00            $0.00            $0.00              $0.00             $0.00                  $0.00
 *Payment requires Court Approval
      MOR-4                                                                                                                       Revised 07/01/98
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 CASE NAME:    KrisJenn Ranch, LLC
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                                                                   AGING OF POST-PETITION LIABILITIES
                                                                   MONTH

       DAYS            TOTAL                     TRADE                      FEDERAL                  STATE               AD VALOREM,                  OTHER
                                                ACCOUNTS                     TAXES                   TAXES               OTHER TAXES
0-30                              0.00
31-60                             0.00
61-90                             0.00
91+                               0.00
TOTAL                           $0.00                      $0.00                      $0.00                  $0.00                $0.00                       $0.00

                                                                   AGING OF ACCOUNTS RECEIVABLE



   MONTH
               June                      July                      August                     Septemer               October              November
0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00                      $0.00                      $0.00                  $0.00                $0.00                       $0.00

               MOR-5                                                                                                                      Revised 07/01/98
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         CASE NAME:         KrisJenn Ranch, LLC
        CASE NUMBER:        20-50805-RBK

                                                         MONTH                      MONTH                      MONTH                MONTH             MONTH           MONTH              FILING TO
                                                         June                       July                       August             Septemer         October            November         DATE
REVENUES (MOR-1)                                                             0.00                    150.00             50,000.00     7,142,789.41             3.00                      7,308,254.69
TOTAL COST OF REVENUES                                                                                                                                                                       6,218.96
GROSS PROFIT                                                                 0.00                    150.00             50,000.00      7,142,789.41            3.00               0.00   7,302,035.73
OPERATING EXPENSES:
   Selling & Marketing                                                                                                                                                                                0.00
   General & Administrative                                                15.00                      15.00                27.00             29.93             0.00                               2,087.93
   Insiders Compensation                                                                                                                                                                              0.00
   Professional Fees                                                      0.00                         0.00                  0.00         52,757.00            0.00                             199,683.07
   Other                                                              1,400.00                       398.79                750.00         23,578.28                                              39,343.67
   Other                                                                802.91                       503.00              1,409.49          8,686.25                                              27,284.12
TOTAL OPERATING EXPENSES                                              2,217.91                       916.79              2,186.49         85,051.46            0.00               0.00          268,398.79
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                  -2,217.91                      -766.79             47,813.51      7,057,737.95            3.00               0.00        7,033,636.94
INTEREST EXPENSE                                                                                                                         530,000.00                                             530,000.00
DEPRECIATION                                                                                                                                                                                          0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                               0.00
OTHER ITEMS**                                                                                                                            126,061.99                                             126,061.99
TOTAL INT, DEPR & OTHER ITEMS                                             0.00                         0.00                  0.00        656,061.99            0.00               0.00          656,061.99
NET INCOME BEFORE TAXES                                              -2,217.91                      -766.79             47,813.51      6,401,675.96            3.00               0.00        6,377,574.95
FEDERAL INCOME TAXES                                                                                                                                                                                  0.00
NET INCOME (LOSS) (MOR-1)                                         ($2,217.91)                      ($766.79)       $47,813.51        $6,401,675.96            $3.00              $0.00      $6,377,574.95
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
               MOR-6                                                                                                                                                                     Revised 07/01/98
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CASH RECEIPTS AND                                           MONTH       MONTH              MONTH            MONTH          MONTH          MONTH          MONTH          FILING TO
DISBURSEMENTS                                                        June          July          August      Septemer     October      November                         DATE
 1. CASH-BEGINNING OF MONTH                                    $0.00     $4,386.20     $2,168.29   $1,401.50   $49,215.01  $893,954.12 $893,954.12                                   $0.00
RECEIPTS:
 2. CASH SALES                                                                      0.00             0.00                          0.00           0.00           0.00          13,315.28
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                               0.00
 4. LOANS & ADVANCES (attach list)                                                  0.00                                                                                       73,330.95
 5. SALE OF ASSETS                                                                                                      7,450,000.00                                        7,450,000.00
 6. OTHER (attach list)                                                                            150.00     50,000.00                           3.00                        152,150.00
TOTAL RECEIPTS**                                                 0.00               0.00           150.00     50,000.00 7,450,000.00              3.00           0.00       7,688,796.23
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                               0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                     0.00
 8. PAYROLL TAXES PAID                                                                                                                                                              0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                                               1,844.00
10. SECURED/RENTAL/LEASES                                                                                                                                                           0.00
11. UTILITIES & TELEPHONE                                                        408.12            398.79           0.00       3,668.76           0.00           0.00           8,423.01 3947.34
12. INSURANCE                                                                                                                  5,017.49                          0.00           5,017.49
13. INVENTORY PURCHASES                                                                                                                                                             0.00
14. VEHICLE EXPENSES                                                                                                                                                                0.00
15. TRAVEL & ENTERTAINMENT                                                                                                                                                          0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                             1,794.79           503.00      1,409.49     9,257.65              0.00           0.00          39,455.20 26490.27
17. ADMINISTRATIVE & SELLING                                                       15.00            15.00         27.00        15.00              3.00           0.00             243.61    168.61
18. OTHER (attach list)                                                                                                 6,556,061.99                                        6,556,061.99
TOTAL DISBURSEMENTS FROM OPERATIONS                              0.00           2,217.91           916.79      1,436.49 6,574,020.89              3.00           0.00       6,611,045.30
19. PROFESSIONAL FEES                                                               0.00             0.00                  31,240.00                                          178,166.10
20. U.S. TRUSTEE FEES                                                                                0.00        750.00                                                         5,630.71 4880.74
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                     0.00
TOTAL DISBURSEMENTS**                                            0.00        2,217.91            916.79   2,186.49 6,605,260.89                    3.00        0.00         6,794,842.11
22. NET CASH FLOW                                                0.00       -2,217.91           -766.79  47,813.51   844,739.11                    0.00        0.00           893,954.12 -5662092
23. CASH - END OF MONTH (MOR-2)                                $0.00       $2,168.29         $1,401.50 $49,215.01 $893,954.12              $893,954.12 $893,954.12          $893,954.12
                                                        * Applies to Individual debtors only
              MOR-7                                     **Numbers for the current month should balance (match)                                                          Revised 07/01/98
                                                           RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     KrisJenn Ranch, LLC
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                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF 11/1-11/30/2021
BANK NAME                                  Broadway                                                            Broadway
ACCOUNT NUMBER                                                8640 #                         #                               8640
ACCOUNT TYPE                                    OPERATING                 PAYROLL                TAX              OTHER FUNDS                       TOTAL
BANK BALANCE                                                 -3.00                                                         893,957.12                  $893,954.12
DEPOSITS IN TRANSIT                                           0.00                                                                                           $0.00
OUTSTANDING CHECKS                                            0.00                                                                                           $0.00
ADJUSTED BANK BALANCE                                      ($3.00)                   $0.00             $0.00              $893,957.12                  $893,954.12
BEGINNING CASH - PER BOOKS                                   -3.00                                                          893,957.12                 $893,954.12
RECEIPTS*                                                                                                                                                    $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                                                                   $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                  0.00                                                                                           $0.00
CHECKS/OTHER DISBURSEMENTS*                                                                                                                                  $0.00
ENDING CASH - PER BOOKS                                    ($3.00)                   $0.00             $0.00              $893,957.12                  $893,954.12

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and                                            Revised 07/01/98
                                            TOTAL DISBURSEMENTS lines on MOR-7
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                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                  MONTH                   MONTH                   MONTH                     MONTH                      MONTH                      MONTH
  INSIDERS: NAME/COMP TYPE


 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                           $0.00                    $0.00                   $0.00                       $0.00                      $0.00                      $0.00

                                                  MONTH                   MONTH                   MONTH                     MONTH                      MONTH                      MONTH
          PROFESSIONALS
                                                  06/01-06/30/2021        07/01-07/31/2021        08/01-08/31/2021         9/1-9/30/2021      10/1-10/31/2021                    11/1-11/30/2021
 1. Douglas Deffenbaugh CPA                                                                                                          4,740.00
 2. CJ Mueller & Assoc                                                                                                              26,500.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS            (MOR-1)                           $0.00                    $0.00                   $0.00              $31,240.00                          $0.00                      $0.00

      MOR-9                                                                                                                Revised 07/01/98           Revised 07/01/98           Revised 07/01/98
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